      Case 4:25-cv-03079       Document 2        Filed on 07/02/25 in TXSD   Page 1 of 7




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 UNITED STATES DEPARTMENT                        §
 OF HOMELAND SECURITY,                           §
 IMMIGRATION AND CUSTOMS                         §
 ENFORCEMENT,                                    §
                                                 § CIVIL NO. 4:25-cv-3079
        Plaintiff,                               §
 v.                                              §
                                                 §
 BADRIYAH AWAD A ALASMARI,                       §
                                                 §
        Defendant.                               §
                                                 §

                     EX PARTE APPLICATION FOR EMERGENCY
                        TEMPORARY RESTRAINING ORDER

        Plaintiff United States Department of Homeland Security, Immigration and Customs

Enforcement (“ICE”) asks this Court to issue an Emergency Temporary Restraining Order

allowing Plaintiff to: (1) involuntarily feed and hydrate Defendant; (2) perform involuntary

medical monitoring of Defendant; and (3) restrain Defendant, as necessary, in order to do so.

Plaintiff’s reasons are set forth as follows:

                                                FACTS

        Badriyah Awad Alasmari, A# XXX XXX 426, is a citizen of Saudi Arabia and is

presently detained at the Houston Contract Detention Facility (“HCDF”) in Houston, Texas

pursuant to the Immigration and Nationality Act. See Declaration of Carlo Jiminez (attached

as Exhibit 1) at ¶ 4. She has been detained at the HCDF since June 25, 2025. Id. Prior to

that, she was detained at the Richwood Correctional Center, in Monroe, Louisiana from May
     Case 4:25-cv-03079       Document 2      Filed on 07/02/25 in TXSD       Page 2 of 7




5, 2025, through June 25, 2025, where she officially began her hunger strike, before being

transferred to the HCDF for higher level medical care. Id.

        On May 31, 2025, Ms. Alasmari missed her ninth consecutive meal and was classified

as a hunger striker pursuant to ICE Health Service Corps. guidance. See Declaration of Alisha

A. Wren, M.D. (attached as Exhibit 2) at ¶ 8 (“Wren Declaration”). She is currently on the

31st day of her self-imposed hunger strike and has missed over ninety consecutive meals. Id.

at ¶ 8. Her last obtained weight on June 30, 2025, was 109 pounds—a roughly 17% loss

compared to her baseline weight. Id. at ¶¶ 9, 20.

        In the professional judgment of her treating physician Alicia A. Wren, M.D., if Ms.

Alasmari continues her hunger strike, she will reach the point where she will require immediate

medical intervention to prevent further deterioration and serious medical complications. Id.

at ¶¶ 26-27. Continued fasting will present a high risk of adverse consequences such as

permanent damage to her internal organs and the risk of death. Id. at ¶ 23. It will lead to

severe metabolic imbalance, which if left untreated, will cause fatal arrhythmia and/or cardiac

arrest. Id.

        The ICE medical staff, including Dr. Wren, has explained to Ms. Alasmari the medical

necessity to eat to preserve her health and the medical risks of continuing her hunger strike.

Id. at ¶¶ 21-22. However, Ms. Alasmari has continually refused to eat solid food or drink

nutritional supplements. Id. As a result, the current situation is critical and requires a Court

order to administer involuntary feeding, hydration, and perform tests as medically necessary.

Id. at ¶ 27.




                                               2
    Case 4:25-cv-03079         Document 2       Filed on 07/02/25 in TXSD         Page 3 of 7




                                     APPLICABLE LAW

       Temporary restraining orders serve to “preserv[e] the status quo and prevent[]

irreparable harm just so long as is necessary to hold a hearing, and no longer.” Granny Granny

Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Loc. No. 70 of Alameda Cnty., 415 U.S.

423, 438–39, 94 S.Ct. 1113, 39 L.Ed.2d 435 (1974). The Federal Rules provide that courts

may issue a temporary restraining order without notice to the adverse party only if: (1) “specific

facts in an affidavit or a verified complaint clearly show that immediate and irreparable injury,

loss, or damage will result to the movant before the adverse party can be heard in opposition;”

and (2) “the movant’s attorney certifies in writing any efforts made to give notice and the

reasons why it should not be required.” Fed. R. Civ. P. 65(b)(1).

       The standard for issuing a temporary restraining order is identical to the standard for

issuing a preliminary injunction. Clark v. Prichard, 812 F.2d 991, 993 (5th Cir. 1987). To obtain

this relief, a movant must establish: (1) a substantial likelihood of success on the merits, (2) a

substantial threat of irreparable harm absent preliminary relief, (3) that a balance of the equities

favors the movant, and (4) that the relief would not disservice the public interest. Daniels

Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013).

                                         ARGUMENT

       Here, the Government meets the standard for obtaining emergency injunctive relief.

On its likelihood of success, the Government has demonstrated the urgency of the present

situation and that involuntary feeding is appropriate considering the dire risks to the

compelling interests at stake, i.e., Defendant’s health and welfare. See Wren Declaration. This

pursuit falls squarely within the Government’s interest—and indeed duty—in caring for those



                                                 3
    Case 4:25-cv-03079        Document 2        Filed on 07/02/25 in TXSD        Page 4 of 7




in its custody, including in “the preservation of life, prevention of suicide, and enforcement

of prison security, order, and discipline[.]” Grand Jury Subpoena John Doe v. United States, 150

F.3d 170, 172 (2d Cir. 1998). In light of this duty, failure to adequately respond to Defendant’s

condition would potentially run afoul of federal laws and the Constitution. See Hui v. Casteneda,

559 U.S. 799, 804 n.3, 130 S.Ct. 1845, 176 L.Ed.2d 703 (2010) (wherein the Government

conceded liability under the FTCA for medical negligence with respect to an immigration

detainee); cf. Helling v. McKinney, 509 U.S. 25, 33, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993) (holding

that the Constitution imposes a duty to assume responsibility for an inmate’s safety and general

well-being). Put plainly, the Government cannot stand idly by as Defendant puts her own

health and well-being in peril.

       There currently exists a substantial threat of irreparable harm absent the requested

relief, since absent a TRO, the status quo of Defendant’s health would change for the worse,

and further deterioration may well result in irreparable damage to Defendant’s health—

including the possibility of death—and to the Government’s efforts to maintain the good

order of the institution and to preserve life and health. And in weighing the interests of the

Government in the preservation of life, maintenance of institutional order, and costs

associated with a hunger strike, courts have repeatedly held that these interests outweigh an

immigration detainee’s rights in maintaining a hunger strike. See, e.g., DHS v. Tortolo-Garcia,

No. 4:24-CV-02268, ECF No. 5 (S.D. Tex. June 18, 2024) (granting temporary restraining

order to allow for involuntary medical monitoring, involuntary feeding, and hydration)

(Ellison, J.); DHS v. Ali, No. 4:24-CV-02242, ECF No. 5 (S.D. Tex. June 14, 2024) (same)

(Hanen, J.); DHS v. Ivanov, No. 3:19-CV-01573, ECF No. 6 (S.D. Cal. Aug. 22, 2019) (same);



                                                4
    Case 4:25-cv-03079         Document 2          Filed on 07/02/25 in TXSD   Page 5 of 7




United States v. Ater, No. 2:13-CV-02469 (D. Ariz. Dec. 11, 2013), ECF No. 8 (same). The

public interest also overwhelmingly supports a TRO, as courts have repeatedly determined

that the public policy favors the preservation of life and health. Id. Indeed, the district court

in each of the aforementioned cases granted the relief sought, recognizing the overwhelming

interests of the detainee’s well-being at stake.

       Finally, the declaration of Dr. Wren makes clear that the requested TRO is necessary

to prevent immediate and irreparable damage. Defendant has been on a hunger strike for 31

consecutive days, and in light of the pressing need for medical intervention, delaying this

proceeding to serve the Defendant and allow her to respond would perilously delay critical

medical attention. The Government, through ICE staff, will seek to serve Defendant with the

Complaint and this ex parte application for emergency temporary restraining order as soon as

possible.

                                        CONCLUSION

       For the foregoing reasons, the Government respectfully requests an immediate Order

permitting it, through competent medical practitioners employed by or contracted with the

federal government to: (1) involuntarily feed and hydrate Defendant; (2) perform physical

evaluations on Defendant, take her vital signs, and perform laboratory testing; and (3) restrain

Defendant, if necessary, to accomplish these procedures, in order to prevent injury, organ

failure, and/or death due to her self-imposed hunger strike. Involuntary feeding would be

accomplished through a nasogastric tube or intravenous (parenteral) means. And involuntary

hydration, should it become necessary, would also be accomplished through intravenous




                                                   5
    Case 4:25-cv-03079        Document 2       Filed on 07/02/25 in TXSD       Page 6 of 7




means. The Government asks that it be allowed to continue the requested involuntary medical

treatment until it is no longer medically necessary.

       The Government further requests that this Court set an expedited preliminary

injunction hearing at its earliest convenience, at which time the Government will proceed with

a motion for preliminary injunction, after completing service. The Government will also

provide the Court with an update on Defendant’s status. In the event Defendant ends her

hunger strike during the pendency of this suit, and involuntary medical intervention becomes

no longer medically necessary, the Government will file an immediate motion to vacate any

preliminary relief granted and voluntarily dismiss this action.



Dated: July 2, 2025

                                                   Respectfully submitted,

                                                   NICHOLAS J. GANJEI
                                                   United States Attorney

                                                   s/Jimmy A. Rodriguez
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                                               6
    Case 4:25-cv-03079      Document 2   Filed on 07/02/25 in TXSD    Page 7 of 7




                            CERTIFICATE OF SERVICE

       I certify that on July 2, 2025, the foregoing was filed and provided to ICE

representatives to serve on Defendant.

                                             s/ Jimmy A. Rodriguez
                                             Jimmy A. Rodriguez
                                             Assistant United States Attorney




                                         7
